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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                             MIAMI DIVISION



  ARKADIY LEVIN,
      Plaintiff,                               Case No.:   1:23-cv-24103-KMV

  v.

  NCL (BAHAMAS) LTD,
  d/b/a Norwegian Cruise Line,
        Defendant.
  _______________________/

                          APPEARANCE OF COUNSEL

  To:   The Clerk of Court and all parties of record:

        PLEASE TAKE NOTICE that I am admitted to practice in this Court, and I

  appear in this case as Counsel for Plaintiff, ARKADIY LEVIN.

  Dated:      Hallandale Beach, Florida
              December 4, 2023


                                               VLADIMIR TSIRKIN & ASSOC.

                                               /s/Vladimir Tsirkin
                                               Florida Bar No.: 1004400
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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing document

  was filed with the Clerk of the Court for the United States District Court, Southern

  District of Florida, by using the CM/ECF system, this 4th day of December 2023.


                                               VLADIMIR TSIRKIN & ASSOC.

                                               /s/Vladimir Tsirkin
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